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Nicholas Talarowski

From:                             Spencer Hosie <shosie@hosielaw.com>
Sent:                             Friday, August 12, 2022 6:29 PM
To:                               Peter Ladig
Subject:                          Woodsford


CAUTION EXTERNAL

P. We received service yesterday. You may assume that the parties and firm were served yesterday. That is, we accept
AS OF yesterday service of and on all parties.
  Your filing says that we were served earlier on June 1, 2022. We most certainly were not, in any way, shape, or
form. The process server yesterday was the first service.
    I did not see any proof of earlier service attached to what we received yesterday. Nor is it apparent why you would
serve via a process server yesterday, had you long ago served. Can you explain this?
  I assume that this earlier claimed June 1, 2022 service date was a mistake. Please so confirm. In any event, we will file
an answer and move to vacate in a detailed responsive pleading next week, which is timely under applicable law ( as I
am sure you know ).

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